Case 1:18-cv-00146-SPW-TJC Document 1-3 Filed 10/03/18 Page 1 of 2

x Kt

" AVITUS GROUP

Simplify, Strengthen and Grow Your Business 800.454.2446 | avitusgroup,com

 

August 27, 2018

Emailed: shahan@Scoobeez.com
Regular Mail

Mr. Shahan Ohanessian
SCOOBEEZ, INC.

396 S. Pasadena Ave.
Pasadena, CA 91105

TERMINATION REMINDER
Dear Shahan:

As you know, Avitus, Inc. (“Avitus) has given Scoobeez, Inc. (“Scoobeez”) notice that the
Professional Employer Agreement (“PEA”) between the aforementioned parties terminates on
September 15, 2018,

As reminder, Avitus’ CFO informed you by phone on two (2) separate occasions of this
impending termination. You also received an email from Avitus’ CFO that contained the written
termination notice. Finally, at your specific request, Avitus did not send the written termination
to Scoobeez’s current corporate headquarters, but rather, sent the notice via certified mail —
restricted delivery to both your home address and the Scoobeez’s address listed in the PEA.

Since giving Scoobeez notice of termination, Avitus has begun preparing for the
termination which will trigger various notices and letters to be sent as required by Avitus’
accreditation agency and various state agencies. One such notice Is the attached draft
Employee Notice Letter that each of your employees will receive once the PEA is terminated.
Another such document is the attached California Employee Warning, which simply indicates
that Avitus’ workers’ compensation Insurance policy has been cancelled and that all claims
occurring after September 15, 2018 will not be filed with the carrier listed. Please note, there
will be an Employee Warning Notice for each state Scoobeez operates in.

- As another reminder, the PEA terminates September 15, 2018, and all wages, related
payroll liabilities and mandatory taxes, including unemployment coverage, will be Scoobeez’s
responsibility effective September 16, 2018. In addition, Scoobeez will no longer receive
workers’ compensation coverage or employment practices liability insurance “EPLI” coverage
through Avitus beyond September 15, 2018. Any and all voluntary benefits sponsored by Avitus
including, flex spending accounts and 401(k) retirement plans will cease to continue beyond
that day as well.

EXHIBIT

Page 1 of 2 i 3

PO Box 2506 . Billings, MT 59103

 

 
Case 1:18-cv-00146-SPW-TJC Document 1-3 Filed 10/03/18 Page 2 of 2

kw +

>" AVITUS GROUP’

Simplify, Strengthen and Grow Your Business 800.454.2446 | avitusgroup.com

Finally, as of the date of this letter, Scoobeez has an outstanding balance owed to Avitus

in the amount of $16,111,385.61. Please remit this amount immediately to avoid collection
activity.

‘Sincerely,

AVITUS, INC.

By: fut - Seco .
DONALD P. REILE

Its: President

 

Page 2 of 2
PO Box 2506 . Billings, MT 59103
